Case 4:08-cv-00174-BSM Document1 Filed 02/26/08 Page 1 of 6

UNITED STATES DISTRICT COURT
LOR THE DISTRICT OF NEW JERSEY

) Case Number
CHARLES CORNELIUS )
)
Plaintiffs, )
) CIVIL COMPLAINT

Vi. )
)

GRAHAM, NOBLE & ASSOCIATES ) JURY TRIAL DEMANDED
)
Defendant. )

COMPLAINT AND JURY DEMAND

COMES NOW, Plaintiff, Charles Cornelius, by and through his undersigned
counsel, Warren, Vullings & Vassallo, |.LP, complaining of Defendant, and respectfully

avers as follows:

1. INTRODUCTORY STATEMENT

I, Plaintiff, Charles Cornelius (hereinafler “Plaintifi™), is ar midividual
cousumer and brings this action for actual and statutory damages and other relief avalrist
(FDCPA"}, which prohibits debt collectors from engaging in abusive, deceplive anc

unfsly practices.

ll. JURISDICTION

2. Jurisdiction of this court arises under 15. U.S.C. § 1692k(d) and 28 U.S.C.

Case 4:08-cv-00174-BSM Document1 Filed 02/26/08 Page 2 of 6

5

3, Venue in this District is proper in that the Defendant lransacts business

here, has a Neay Jersey business license and has an agent for service of process in New

Jersey.
II. PARTIES
4, Plaintiff, Charles Cornelius, is an adult individual and citizen of the State of

Arkansas, presently serving wilh the Army at Camp Robinson, Building 3000, North Little

Rock, Arkansas 72199. Mr. Comelius is a Sergeant First Class.

5. Defendant, Graham, Noble & Associales (“Defendant”), at all times
relevant herelo, is and was a timited Hability corporation engaged in the business of
collecting debt within the State of New Jerscy with its prinerpal place of business located

3411 Bailey Avenue, Suite 1, Buffalo, New York 14215,

6. Defendant is engayed in the collection of debts from consumers using the
mail, Defeudant regularly attempts to collect conswner debts alleged 16 be due to another.

Defendant is a“‘debt collector” as defined by the FOCPA, 15 U.S.C. §1692a(6).

IV. FACTUAL ALLEGATIONS

7. On February 19, 2008, at 1000 hours, plaintiff recerved a call at Carap
Robinson, a federal military installation at Lhe address noted above, from an individual
who identified himself as “Mr. Bill Stewart”. Mr. Stewart told plaintiff he wanted to speak
lo plaintiff's commanding officer and that he would lalk to plaintiff, bul be wanted to send

plainu ll something that would “explam m depth”.

&, Mr, Stewart told plaintiff he would fax him information within the hour, but

documents tever arrived.

Case 4:08-cv-00174-BSM Document1 Filed 02/26/08 Page 3 of 6

9. Mr. Stewart called back at 1500 hourg and advised plaintiff he was
sending the fax. The document purported to be a thirty (30) day letter, Indeed, the letter
violates the FDCPA, inasmuch as it does not contain any of the requirements of he same,
and instead, threatens that if plaintiff does not pay the fill amount “We will have to pursuc
the account accordingly”. The letter was dated in December, 2007 and plaintiff first

received if on February 19, 2008.

10, Upon reviewing the fax, plaintiff asked Mr. Steward what it was al] about,
whereupon Mr. Stewart lied lo plaintiff, telling him he was an attorney with Une law firm of
defendant. Mr. Stewart further threatened plaintiff by telling he had unl 1700 hours to
pay the debt or Mr. Stewart was going to (1) send a warrant Jor plainhff’s arrest to Hol
Springs, Colorado; (2) file federal charges agains| plaintiff; (3) sue plaintiff for fraud; (4)
file criminal charges against plaintill for stealing; (5) file criminal charges against plaintiff

for receiving goods under falsc pretenses.

ll. In this telephone call, Mr. Stewarl further stated that plaintiff would lose his
job from Active Duty because defendant was going to win no matler what plaintiff said.

12. Plaintiff told Mr. Stewart be did not owe the debt and he was not going to
settle anything until he spoke with legal counsel, Mr. Stewart responded by telling

plaintiff he was doing plainuiffa favor by not having him arrested and charged, and that
Mr, Stewart was instead helping plaintiff and his family.

[3. Plaintiff requested additional documentation lo prove that he owed the debt,
bul Mr. Stewart stated he could not prove anything unless it wert to court, at winch tune

they would secure the necessary documents.

Case 4:08-cv-00174-BSM Document1 Filed 02/26/08 Page 4 of 6

14. On February 20, 2008, plaintiff instructed an assistant at Camp Robinson to
call Mr, Stewart and tell hin to stop calling plaintiff. When the assistant hung up the

phone, Mr. Stewart called plaintiff directly bui did not leave a message.

}5. Later in the day, plaintill called Mr. Stewart and told him he would not be
paying anything unless he received appropriate documentation of the alleged debt, Mr.
Stewart became irate and raising his voice to such an extent that plaintiff asked several

times to speak wilh a supervisor unti! Mr. Stewart obliged.

1G. Mr. Russell was identified as Mr. Stewart’s supervisor. Plainufl waited on
hold for fifteen (15) minutes for Mr. Russell, hung up and called back to Mr. Russell’s

purporled extension only to reach Mr. Stewart agai, not Mr. Russell,

Vy. When Mr. Stewart answered the telephone call, be advised plaintiff that Mr.

Russell would “be right there”, but he never picked up the phone.

18. When plaintiff called back at the same extension, an individual identified as
“Mrs. Rebecca Taylor”, who claimed to be Mr, Russell's supervisor, spoke with plamill.
Plaintiff started lelling Mrs. Taylor what happened, but she immediately became
beltigerent and abusive, cutting him offand dictating to him what plaintiff was going to da.
When plainti({ informed her that Mr. Stewart threatened plaintiff with arrest and
incarceration, Mrs. Taylor told him she didn’t care and that plaintiff was going lo pay the
debt or she would send a warrant for his arrest “and that’s all there is lo i’, whereupon

Mrs. ‘Taylor rudely hung up on platateff.

19, Plainufl called back one more time and Mr. Stewart answered the phone

and told plaintiff he wanted to apologize for what he had done.

Case 4:08-cv-00174-BSM Document1 Filed 02/26/08 Page 5 of 6

20.  Pelendant’s rude, abusive, demeaning, deceptive and harassing calls to

plaintiff and third parties are a violation ofthe PDCPA,

COUNT]
FDCPA VIOLATION 15 U.S.C. § 1692 et seq,

21. ‘The above paragraphs are hereby incorporated herein by reference.

22. Defendant violaled the FOCPA. Defendant’s violations include, but are not

limited ta, the following:

a. 15 U.S.C. 1692¢(10), in that Defendant used false representations or
deceptive means to collect or attempt to collect the alleged debt as stated more clearly

above.

D. 15 U.S.C, 1692e(11), in that Defendant failed to state in a series of
telephone calls that it was a debt collector attempting to collect a debt and that any

information obtained would be used for that purpose.

C, 15 U.S.C. 1692d, in that Defendant cngaged tm conduct the natural
consequence of which is to harass, oppress, or abuse Plauntiffin connection with the

collection of a debt.

23. Asaresult of the foregoing violations of the FOCPA, Defendant is hable to
Plaintiff for a declaratory judgment that Delendant’s conduct violated the FOCPA, actual
damages, statutory damages, attorney’s fees and costs and other appropriate relief,

pursuant to 73 PS. & 201-9,2.

Case 4:08-cv-00174-BSM Document1 Filed 02/26/08 Page 6 of 6

WHEREFORE, Plaintiff respectfully requests thal this court enter judgment mn

their favor and against Defendant and Order the following, relet:
om a

a. Declaratory judgment that the Defendant's condtict violated the FOCPA;

b, Actual damages;

t. Statutory damages pursuant lo 15 U.S.C, §1692k,

d. Reasonable attorney's [ces and costs of suit pursuant Lo 15 LES.C. §1692k,
anc

e. Such addition and further relicf as may be appropriate or that the interests of

justice require,

Vv. JURY DEMAND

Plaintiff hereby demands a jury trial as to all isstles herein,
Respectfully submitted,
WARREN, VULLINGS & VASSALLO, LLP

Yate: 2/26/08 BY: /s/Bruce K. Warren
Bruce k. Warren
Warren, Vullings & Vassallo LLP
1603 Rhawn Street
Philadelphia, PA 19111
245-745-9800 Fax 215-745-7880
Attorney for Plaintiff

